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 1   XAVIER BECERRA, State Bar No. 118517
     Attorney General of California
 2   PETER D. HALLORAN, State Bar No. 184025
     Supervising Deputy Attorney General
 3   CORI R. SARNO, State Bar No. 230559
     Deputy Attorney General
 4   DAVID S. KIM, State Bar No. 324531
     Deputy Attorney General
 5     1300 I Street, Suite 125
       P.O. Box 944255
 6     Sacramento, CA 94244-2550
       Telephone: (916) 210-6182
 7     Fax: (916) 324-5567
       E-mail: Cori.Sarno@doj.ca.gov
 8   Attorneys for Defendant
     California Department of Social Services
 9   (erroneously sued as the State of California, Health
     and Human Services Agency)
10

11                            IN THE UNITED STATES DISTRICT COURT
12                          FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14

15   CLARICE SANDERS-HOLLIS,                               Case No. 2:19-cv-00092-KJM-DB
16                                     Plaintiff, CALIFORNIA DEPARTMENT OF
                                                  SOCIAL SERVICES’ NOTICE OF
17               v.                               MOTION TO DISMISS PURSUANT TO
                                                  FEDERAL RULE OF CIVIL
18                                                PROCEDURE RULE (12)(b)(6)
     STATE OF CALIFORNIA, HEALTH AND
19   HUMAN SERVICES AGENCY,                       Date:          November 22, 2019
     DEPARTMENT OF SOCIAL SERVICES;               Time:          10:00 a.m.
20   and DOES 1 through 20, inclusive,            Dept:          3, 15th Floor
                                                  Judge:         The Honorable Kimberly J.
21                                  Defendants.                  Mueller
                                                  Trial Date:    None Set
22                                                Action Filed: 8/20/2018
23

24   TO PLAINTIFF AND HER ATTORNEYS OF RECORD:

25         PLEASE TAKE NOTICE that on November 22, 2019, at 10:00 a.m. or as soon thereafter

26   as the matter may be heard in the above-entitled court, located at United States District Court,

27   Eastern District of California, 501 I Street, Sacramento, California, 95814, Courtroom 3,

28   Defendant California Department of Social Services, erroneously sued herein as State of
                                                   1
            California Department of Social Services’ Notice of Motion to Dismiss (Case No. 2:19-cv-00092-KJM-DB)
     Case 2:19-cv-00092-KJM-DB Document 23-1 Filed 10/21/19 Page 2 of 4


 1   California, Health and Human Services Agency, will, and hereby does, move the Court pursuant

 2   to Rule 12(b)(6) of the Federal Rules of Civil Procedure, to dismiss the Plaintiff’s Complaint, and

 3   each of the nine cause of action therein, on the grounds that:

 4             • The Complaint and each of the nine causes of action fail to allege any facts which if

 5                true, demonstrate a plausible claim for relief under any theory—the complaint

 6                contains nothing but legal conclusions.

 7             • Plaintiff fails to plead sufficient facts to demonstrate the timely exhaustion of

 8                administrative remedies as is required to assert each of her claims under the FEHA,

 9                Title VII and the ADEA;

10   The motion will be based on this Notice of Motion and Motion, the Memorandum of Points and

11   Authorities, the Request for Judicial Notice, the Declaration of Cori R. Sarno filed herewith, the

12   pleadings and papers filed herein, and such other matters as may properly come before the Court.

13   Meet and Confer Certification

14         Pursuant to this Court’s Order dated January 14, 2019 (Document 2-1) Defendant sent

15   Plaintiff’s counsel an email on October 11, 2019, to meet and confer regarding the grounds for

16   the instant motion. Plaintiff’s counsel responded, and a telephone call was arranged. Counsel

17   had a telephone conversation on October 11, 2019, in which Defense counsel indicated there were

18   no facts alleged in the Complaint and Defendant was unaware of the factual basis for this lawsuit.

19   Defendant’s counsel further raised concerns over the timely exhaustion of administrative

20   remedies and although Plaintiff’s counsel claims that timely exhaustion occurred, Plaintiff’s

21   counsel did not provide any proof to Defendant’s counsel. Instead, Plaintiff’s counsel indicated

22   that he felt the Complaint was sufficient, as plead, under notice pleading standards, and that

23   Defense counsel should go ahead and file the motion to dismiss.

24   ///

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                                                         2
            California Department of Social Services’ Notice of Motion to Dismiss (Case No. 2:19-cv-00092-KJM-DB)
     Case 2:19-cv-00092-KJM-DB Document 23-1 Filed 10/21/19 Page 3 of 4


 1         Defendant’s counsel’s office further requests that oral argument be held to afford the

 2   opportunity to argue the motion by a new attorney in Defendant’s counsel’s office who has never

 3   argued a motion in court.

 4   Dated: October 21, 2019                                   Respectfully submitted,
 5                                                             XAVIER BECERRA
                                                               Attorney General of California
 6                                                             PETER D. HALLORAN
                                                               Supervising Deputy Attorney General
 7

 8
                                                               /s/ Cori R. Sarno
 9

10                                                             CORI R. SARNO
                                                               Deputy Attorney General
11                                                             Attorneys for Defendant
                                                               California Department of Social Services
12                                                             (erroneously sued as the State of California
                                                               and the Health and Human Services Agency)
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     Notice of Motion to Dismiss.docx
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             California Department of Social Services’ Notice of Motion to Dismiss (Case No. 2:19-cv-00092-KJM-DB)
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                                 CERTIFICATE OF SERVICE
Case Name:          Clarice Sanders-Hollis v. State       No.    2:19-cv-00092-KJM-DB
                    of California, Health and
                    Human Services Agency,
                    Department of Social Services

I hereby certify that on October 21, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
 CALIFORNIA DEPARTMENT OF SOCIAL SERVICES’ NOTICE OF MOTION TO
 DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE RULE
 (12)(b)(6)

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on October 21, 2019, at Sacramento,
California.


             Marianne Baschiera                              /s/ Marianne Baschiera
                 Declarant                                          Signature

SA2019100060
POS notice of motion.docx
